AO 245C (Rev. 09/) Case
                     Amended2:18-cr-00036-RFB-PAL
                             Judgment in a Criminal Case            Document 67 Filed 09/25/20 (NOTE:
                                                                                               Page Identify
                                                                                                      1 of 14Changes with Asterisks (*))
                     Sheet 1


                                        UNITED STATES DISTRICT COURT
                                                     __________ District
                                                            District     of __________
                                                                     of Nevada
                                                                            )
              UNITED STATES OF AMERICA
                                                                            )
                                                                                AMENDED JUDGMENT IN A CRIMINAL CASE
                                  v.                                        )
                     LINDSEY FAY SARAC                                      )   Case Number: 2:18-cr-00036-RFB-PAL
                                                                            )   USM Number: 54573-048
Date of Original Judgment:             6/8/2020                             )   ERIN GETTEL, AFPD
                                       (Or Date of Last Amended Judgment)   )   Defendant’s Attorney


THE DEFENDANT:
✔ pleaded guilty to count(s)
G                              One, Two, and Four of Indictment, filed 2/06/2018.
G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                 Nature of Offense                                                           Offense Ended                Count
18 U.S.C. § 1028(a)(3)          Possession with Intent to Use 5 or More Identification Documents            12/20/2017                     1

18 U.S.C. § 1029(a)(3)          Possession of 15 or More Counterfeit or Unauthorized Access                  12/20/2017                    2
                                Devices
18 U.S.C. § 1028A               Aggravated Identity Theft                                                    12/20/2017                    4
       The defendant is sentenced as provided in pages 2 through                8         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
✔ Count(s) Three
G                                                G✔ is G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                                           9/25/2020
                                                                                Date of Imposition of Judgment


                                                                                Signature of Judge
                                                                                 RICHARD F. BOULWARE, II                      U.S. District Judge
                                                                                Name and Title of Judge

                                                                                                            9/25/2020
                                                                                Date
AO 245C (Rev. 09/) Case
                      Amended 2:18-cr-00036-RFB-PAL
                               Judgment in a Criminal Case    Document 67 Filed 09/25/20 Page 2 of 14
                      Sheet 2 — Imprisonment                                                             (NOTE: Identify Changes with Asterisks (*))
                                                                                                    Judgment — Page         2     of         8
DEFENDANT: LINDSEY FAY SARAC
CASE NUMBER: 2:18-cr-00036-RFB-PAL

                                                         IMPRISONMENT

       The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of :
*Time Served.




G      The court makes the following recommendations to the Bureau of Prisons:
       The Court makes the recommendation to the Bureau of Prisons that the defendant be permitted to serve her term of
       incarceration at a facility in Tallahassee, Florida. Further, that defendant be permitted to participate in the RDAP program.




G      The defendant is remanded to the custody of the United States Marshal.

G      The defendant shall surrender to the United States Marshal for this district:
       G     at                                G     a.m.      G    p.m.       on                                       .

       G     as notified by the United States Marshal.

G      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

       G     before 2 p.m. on                                            .

       G     as notified by the United States Marshal.

       G     as notified by the Probation or Pretrial Services Office.


                                                               RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                         to

at                                                   with a certified copy of this judgment.




                                                                                                 UNITED STATES MARSHAL


                                                                         By
                                                                                            DEPUTY UNITED STATES MARSHAL
 AO 245C (Rev. 09/)Case
                       Amended 2:18-cr-00036-RFB-PAL
                                Judgment in a Criminal Case    Document 67 Filed 09/25/20 Page 3 of 14
                       Sheet 3 — Supervised Release                                                      (NOTE: Identify Changes with Asterisks (*))
                                                                                                        Judgment—Page      3      of         8
DEFENDANT: LINDSEY FAY SARAC
CASE NUMBER: 2:18-cr-00036-RFB-PAL
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
 Three (3) years as to Counts One and Two, to run concurrent to one another, One year as to Count Four (4), to
 run concurrent to Counts One and Two.




                                                 MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the courtQRWWRH[FHHGWHVWVDQQXDOO\.
         G The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
               substance abuse. (check if applicable)
4.   ✔
     G   You   must  make restitution in accordance with 18 U.S.C. § 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check if applicable)
5.   ✔
     G   You   must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.   G   You   must  comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.   G   You   must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.
AO 245C (Rev. 09/)Case
                      Amended2:18-cr-00036-RFB-PAL
                               Judgment in a Criminal Case     Document 67 Filed 09/25/20 Page 4 of 14
                      Sheet 3A — Supervised Release
                                                                                                        Judgment—Page       4    of        8
DEFENDANT: LINDSEY FAY SARAC
CASE NUMBER: 2:18-cr-00036-RFB-PAL

                                    STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
    You must answer truthfully the questions asked by your probation officer.
    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officerto
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
   If WKHSUREDWLRQRIILFHUGHWHUPLQHVWKDW\RXSRVHDULVNWRDQRWKHUSHUVRQ LQFOXGLQJDQRUJDQL]DWLRQ WKHSUREDWLRQRIILFHUPD\
      UHTXLUH\RXWRQRWLI\WKHSHUVRQDERXWWKHVSHFLILFULVNVSRVHGE\\RXUFULPLQDOUHFRUGDQG\RXPXVWFRPSO\ZLWKWKDWLQVWUXFWLRQ
      7KHSUREDWLRQRIILFHUPD\FRQWDFWWKHSHUVRQDQGFRQILUPWKDW\RXKDYHQRWLILHGWKHSHUVRQDERXWWKHVSHFLILFULVNVSRVHGE\\RXU
      FULPLQDOUHFRUG
   You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                      Date
                    Case 2:18-cr-00036-RFB-PAL Document 67 Filed 09/25/20 Page 5 of 14
AO 245C (Rev. 09/20) Amended Judgment in a Criminal Case
                     Sheet 3D — Supervised Release
                                                                                                    Judgment—Page     5      of        8
DEFENDANT: LINDSEY FAY SARAC
CASE NUMBER: 2:18-cr-00036-RFB-PAL

                                         SPECIAL CONDITIONS OF SUPERVISION
    1. Debt Obligations - You must not incur new credit charges, or open additional lines of credit without the
 1. Debt Obligations - You must not incur new credit charges, or open additional lines of credit without the approval of the
   approval
 probation     of the probation officer.
           officer.

 2. 2. Access
     Access    to Financial
            to Financial       Information
                         Information - You must  provide
                                              - You      theprovide
                                                      must  probationthe
                                                                      officer access to
                                                                          probation      any requested
                                                                                       officer access tofinancial information
                                                                                                          any requested    financial
 and authorize the release of any financial information. The probation office will share financial information with the U.S.
    information and authorize the release of any financial information. The probation office will share financial
 Attorney’s Office.
    information with the U.S. Attorney’s Office.
 3. Substance Abuse Treatment - You must participate in the substance abuse treatment program and follow the rules and
   3. Substance
 regulations of thatAbuse  Treatment
                     program.         - You
                              The probation    mustwill
                                            officer participate   in the
                                                        supervise your   substanceinabuse
                                                                       participation       treatment program and follow
                                                                                     the program.                                           the
    rules and regulations of that program. The probation officer will supervise your participation in the program.
 4. Search and Seizure – You must submit your person, property, house, residence, vehicle, papers, computers (as defined
 in 18 U.S.C. § 1030(e)(1)), other electronic communications or data storage devices or media, or office, to a search
    4. Searchbyand
 conducted           Seizure
                 a United      – You
                          States      must Officer.
                                  Probation  submitFailure
                                                      your person,
                                                            to submitproperty,  house,
                                                                      to a search      residence,
                                                                                  may be  grounds vehicle,   papers,
                                                                                                   for revocation       computers (as
                                                                                                                    of release.
 Youdefined  in 18any
       must warn    U.S.C.
                       other§occupants
                              1030(e)(1)),
                                        thatother  electronic
                                             the premises  maycommunications     or data
                                                                be subject to searches   storagetodevices
                                                                                       pursuant             or media, or office, to a
                                                                                                    this condition.
 The probation officer may conduct a search under this condition only when reasonable suspicion exists that you have
    search conducted by a United States Probation Officer. Failure to submit to a search may be grounds for revocation
 violated a condition of supervision and that the areas to be searched contain evidence of this violation. Any search must be
    of release.
 conducted   at aYou   must warn
                  reasonable         anyinother
                               time and          occupants
                                           a reasonable       that the premises may be subject to searches pursuant to this
                                                         manner.
    condition.
 5. No contact - You shall have no contact with Roger Jenkins and Brandon Broyles through the term of your supervision.
 6. C.A.R.E. Program - You shall participate in the C.A.R.E. Program for a period of up to seven months as approved and
   The probation officer may conduct a search under this condition only when reasonable suspicion exists that you
 directed by the probation officer. While participating in the program, if you test positive for alcohol, or any controlled
   have violated
 substance,  and/oraany
                     condition   of supervision
                        form of synthetic          and you
                                           stimulants,  thatwill
                                                              thebeareas
                                                                    takento becustody
                                                                          into searchedfor contain
                                                                                           a minimum evidence   ofseven
                                                                                                        period of  this violation.
                                                                                                                         days.     Any
    search must be conducted at a reasonable time and in a reasonable manner.
 7. Home Confinement with Location "GPS" Monitoring – You shall be required to be placed home confinement to be
 served   in the first 6Restriction
    5. Computer          months of supervision.
                                      - You must  Yousubmit
                                                        are restricted  to your residence
                                                                 your computers              at all times
                                                                                        (as defined        except
                                                                                                       in 18       for employment;
                                                                                                               U.S.C.   § 1030(e)(1)) or other
 education; religious services; medical appointments; attorney visits; court appearances; court-ordered obligations; or other
    electronic    communications       or  data storage   devices   or media,      to a search. You    must   warn
 activities as pre-approved by the probation officer. You shall be permitted to leave for family obligations relatingany  other people
                                                                                                                                 to     who use
    these computers
 defendant's    children or
                          anddevices  capableofofthe
                              upon approval        accessing
                                                      probation.theYou
                                                                     Internet
                                                                         will bethat   the devices
                                                                                  monitored          may be
                                                                                             by location       subject technology
                                                                                                           monitoring   to searchesatpursuant
                                                                                                                                      the     to
    this condition.
 discretion              A probation
              of the probation            officer may
                                officer throughout  your conduct
                                                           entire terma ofsearch     pursuant
                                                                           supervision,         to this
                                                                                           and you   must condition     onlyand
                                                                                                           follow the rules   when    reasonable
                                                                                                                                regulations
 of suspicion
    the locationexists
                   monitoring  program
                         that there   is aand  you shallofbea required
                                            violation                  to pay
                                                               condition         for the costs of
                                                                            of supervision     andlocation  monitoring
                                                                                                      that the  computer as deemed
                                                                                                                             or device contains
 appropriate by probation officer. If you complete the lockdown component for the C.A.R.E program early, you or the
    evidence
 probation      of this violation.
             department              Anythe
                           may petition     search must
                                              term of yourbe   conducted
                                                             home             at a reasonable
                                                                    confinement      reduced. time and in a reasonable manner.

        No contact
 10.6.Curfew  - You are- You    shalltohave
                         restricted          no contact
                                        your residence      with
                                                         every dayRoger   Jenkins
                                                                    from 10AM        or Brandon
                                                                                 to 6PM,             Broyles
                                                                                          or as directed   by thethrough    theofficer,
                                                                                                                    probation    term forof your
 thesupervision.
      term of one year. You will not be permitted to spend the night at any other location without the express approval of
 probation and this Court.
 11. Residence - You shall be required to reside with your parent's at their residence.
 5. 7.   C.A.R.E.Service
    Community       Program
                          – You- shall
                                    Youbeshall   participate
                                           required            in the
                                                      to complete  2000C.A.R.E.
                                                                         hours of Program
                                                                                   Communityfor     a period
                                                                                                  Service to beof    up to seven
                                                                                                                  completed    withinmonths
                                                                                                                                      first   as
    approved
 year           and directed
       of your supervision   andbyupon
                                   the completion
                                         probation of officer. While program.
                                                        the C.A.R.E.   participating  in the
                                                                                 You shall  beprogram,
                                                                                                 required toif complete
                                                                                                               you test positive
                                                                                                                         35 hours for    alcohol,
                                                                                                                                     a week
 of or
    community    service, orsubstance,
        any controlled        attend educational
                                          and/or classes
                                                   any form or work.  You will submit
                                                                of synthetic           your schedule
                                                                                 stimulants,            to be
                                                                                                 you will    beapproved
                                                                                                                  taken intoby probation
                                                                                                                                custody for a
 every month.
    minimum      period  of  seven  days.
 6. Education or Employment Requirement– You must be fully enrolled in an educational program for a bachelor's degree
 or to be fully employed or a combination thereof, to begin within two months after completing your C.A.R.E. program
    8. Home
 lockdown      Confinement
            status.  Failure to with    Location
                                  Not obtaining  full"GPS"  Monitoring
                                                      employment   or being–fully
                                                                             Youenrolled
                                                                                    shall bewill
                                                                                             required    to abeviolation
                                                                                                 constitute       placed ofhome
                                                                                                                             your confinement
 supervised   release.
    to be served the ine first six months of supervision. You are restricted to your residence at all times except for
 12.employment;
     Drug Testing -education;
                     You shall bereligious   services;
                                   required to  submit tomedical     appointments;
                                                          drug testing                attorney
                                                                       two times per week  for thevisits;
                                                                                                   term ofcourt  appearances; court-
                                                                                                            your supervision.
 Testing will continue even if positive tests occur. After two years, the testing may be adjusted as needed with the to leave for
   ordered   obligations;  or  other  activities  as pre-approved   by  the probation  officer. You   shall be permitted
   family obligations
 permission               relating
              or approval of         to your
                             the probation       child and upon the approval of the probation department. You will be
                                            office.
    monitored by “GPS” location monitoring technology at the discretion of the probation officer throughout your
    entire term of supervision, and you must follow the rules and regulations of the location monitoring program. You
    shall be required to pay for the costs of location monitoring as deemed appropriate by probation officer. If you
    complete the lockdown component for the C.A.R.E program early, you or the probation department may petition
    to have the term of your home confinement reduced.

    continued to page 6
                      Case 2:18-cr-00036-RFB-PAL Document 67 Filed 09/25/20 Page 6 of 14
  AO 245C (Rev. 09/20) Amended Judgment in a Criminal Case
                       Sheet 3D — Supervised Release
                                                                                                     Judgment—Page      6     of       8
  DEFENDANT: LINDSEY FAY SARAC
  CASE NUMBER: 2:18-cr-00036-RFB-PAL

                                           SPECIAL CONDITIONS OF SUPERVISION
      9. Curfew
   1. Debt        - You- You
           Obligations   are restricted to your
                             must not incur     residence
                                            new credit     every
                                                       charges, or day
                                                                   openfrom   10 AM
                                                                         additional    to of
                                                                                    lines 6 credit
                                                                                             PM, or  as directed
                                                                                                   without        by theofprobation
                                                                                                           the approval    the
   probation officer.
      officer, for your first year of supervision. You will not be permitted to spend the night at any other location
      withouttothe
   2. Access       expressInformation
                Financial   approval -ofYou
                                         themust
                                              probation
                                                   providedepartment
                                                           the probationand  thisaccess
                                                                         officer  Court.to any requested financial information
   and authorize the release of any financial information. The probation office will share financial information with the U.S.
      10. Residence
   Attorney’s Office. - You shall be required to reside with your parent's at their residence.

   3. Substance Abuse Treatment - You must participate in the substance abuse treatment program and follow the rules and
      11. Community Service – You shall be required to complete 2000 hours of Community Service to be completed
   regulations of that program. The probation officer will supervise your participation in the program.
withinwithin   threeofyears
        three year      yourofsupervision
                                your supervision
                                            and uponuponcompletion
                                                          completionofofthetheC.A.R.E.
                                                                               C.A.R.E.program
                                                                                          programlockanddowncompletion    of lockdown
                                                                                                                  component.     You
shall  component.
      be  required
      complete
   4. Search  and35  You
                  Seizure   shall
                    tohours– You  be required
                              of community      to complete
                                                service
                                  must submit your            35
                                                        weekly,
                                                    person,       hours   of
                                                                  or attend
                                                            property,        community
                                                                              educational
                                                                      house, residence,    service
                                                                                            classes
                                                                                        vehicle,    weekly,
                                                                                                     or be
                                                                                                 papers,       or  attend  educational
                                                                                                              fully employed,
                                                                                                           computers   (as definedafter
      completion of C.A.R.E. program lockdown component. You must submit your schedule to be approvedevery
       classes
   in 18 U.S.C.or
                § be   fully employed.
                  1030(e)(1)), other     You
                                     electronicmust   submit
                                                communicationsyour
                                                                 or  schedule
                                                                    data       to
                                                                         storage  be  approved
                                                                                 devices or media,byorprobation
                                                                                                       office, to a department
                                                                                                                    search          by
       month.by adepartment
   conducted
      probation
                   United States Probation Officer. Failure to submit to a search may be grounds for revocation of release.
                                every month.
   You must warn any other occupants that the premises may be subject to searches pursuant to this condition.
   The probation officer may conduct a search under this condition only when reasonable suspicion exists that you have
      12. Education
   violated a condition or  Employment
                        of supervision      Requirement
                                       and that the areas to–beYou  mustcontain
                                                               searched  be fully  enrolled
                                                                                evidence     in violation.
                                                                                         of this an educational   program
                                                                                                           Any search       for a
                                                                                                                      must be
   conducted   at a reasonable time  and in a reasonable manner.
      bachelor's degree or be fully employed or a combination thereof, to begin within two months after completion of
      C.A.R.E. program lockdown component. Failure in not obtaining full employment or being fully enrolled in an
   5. No contact - You shall have no contact with Roger Jenkins and Brandon Broyles through the term of your supervision.
   6. educational    program
      C.A.R.E. Program            or combination
                         - You shall  participate in thethereof
                                                         C.A.R.E.will     constitute
                                                                     Program            a of
                                                                              for a period  violation  of months
                                                                                              up to seven   your assupervised
                                                                                                                     approved andrelease.
   directed by the probation officer. While participating in the program, if you test positive for alcohol, or any controlled
      13. Drug
   substance,    Testing
               and/or any form
                           - Youof synthetic
                                    shall be stimulants,
                                              required to yousubmit
                                                               will be taken intotesting
                                                                       to drug    custodytwo
                                                                                           for atimes
                                                                                                 minimum
                                                                                                      per period
                                                                                                          week offorseven  days. of your
                                                                                                                      the term
      supervision. Testing will continue even if positive tests occur. After two years, the testing may be adjusted as
   7. Home Confinement with Location "GPS" Monitoring – You shall be required to be placed home confinement to be
      needed
   served         and
             in the    as6approved
                    first   months ofby   the probation
                                      supervision.         department.
                                                     You are   restricted to your residence at all times except for employment;
   education; religious services; medical appointments; attorney visits; court appearances; court-ordered obligations; or other
      14. Status
   activities        Conferenceby–the
               as pre-approved        You    shall beofficer.
                                          probation   requiredYouto   meet
                                                                   shall be with  this Court
                                                                             permitted  to leavewithin   thirty
                                                                                                  for family    days of relating
                                                                                                             obligations  release from
                                                                                                                                  to   custody.
   defendant's children and upon approval of the probation. You will be monitored by location monitoring technology at the
      Further,     you    shall be required    to meet   with   this  Court   every   three  months     thereafter   to discuss
   discretion of the probation officer throughout your entire term of supervision, and you must follow the rules and regulations
                                                                                                                                 your plan  and
      status.
   of the        It ismonitoring
           location    preferredprogram
                                   that yourandfather or mother
                                                 you shall           attend
                                                           be required       thisfor
                                                                         to pay   status  conference
                                                                                     the costs           to update
                                                                                                of location          the as
                                                                                                             monitoring  Court   on your status.
                                                                                                                            deemed
   appropriate by probation officer. If you complete the lockdown component for the C.A.R.E program early, you or the
      Note: A
   probation       written copy
                department    may of the conditions
                                   petition the term of of release
                                                         your  homewas    providedreduced.
                                                                      confinement     to the Defendant by the Probation Officer in open
      Court at the time of sentencing.
   10. Curfew - You are restricted to your residence every day from 10AM to 6PM, or as directed by the probation officer, for
   the term of one year. You will not be permitted to spend the night at any other location without the express approval of
   probation and this Court.
   11. Residence - You shall be required to reside with your parent's at their residence.
   5. Community Service – You shall be required to complete 2000 hours of Community Service to be completed within first
   year of your supervision and upon completion of the C.A.R.E. program. You shall be required to complete 35 hours a week
   of community service, or attend educational classes or work. You will submit your schedule to be approved by probation
   every month.
   6. Education or Employment Requirement– You must be fully enrolled in an educational program for a bachelor's degree
   or to be fully employed or a combination thereof, to begin within two months after completing your C.A.R.E. program
   lockdown status. Failure to Not obtaining full employment or being fully enrolled will constitute a violation of your
   supervised release.

   12. Drug Testing - You shall be required to submit to drug testing two times per week for the term of your supervision.
   Testing will continue even if positive tests occur. After two years, the testing may be adjusted as needed with the
   permission or approval of the probation office.
AO 245C (Rev. 09/   Case
                      Amended2:18-cr-00036-RFB-PAL
                              Judgment in a Criminal Case Document 67 Filed 09/25/20 Page 7 of 14
                      Sheet 5 — Criminal Monetary Penalties                                                        (NOTE: Identify Changes with Asterisks (*))
                                                                                                          Judgment — Page         7     of          8
DEFENDANT: LINDSEY FAY SARAC
CASE NUMBER: 2:18-cr-00036-RFB-PAL
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                   Assessment              5HVWLWXWLRQ)LQHAVAA Assessment*JVTA AssessPHQW
TOTALS            $ 300.00                $ 402.31                         $ 0.00                        $ 0.00                   $ 0.00
                                                                            [waived]

G The determination of restitution is deferred until                        . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

✔ The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
G
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                Total Loss***                         Restitution Ordered                       Priority or Percentage
 See Restitution List                                                              $402.31




TOTALS                               $                          0.00          $                       402.31


✔
G    Restitution amount ordered pursuant to plea agreement $              402.31

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for             G fine        G restitution.
     G the interest requirement for the           G fine        G restitution is modified as follows:


* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
  AO 245C (Rev. 09/) Case
                        Amended2:18-cr-00036-RFB-PAL
                                 Judgment in a Criminal Case     Document 67 Filed 09/25/20 Page 8 of 14
                        Sheet 6 — Schedule of Payments                                                      (NOTE: Identify Changes with Asterisks (*))
                                                                                                         Judgment — Page       8     of         8
  DEFENDANT: LINDSEY FAY SARAC
  CASE NUMBER: 2:18-cr-00036-RFB-PAL

                                                    SCHEDULE OF PAYMENTS

  Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

  A    ✔ Lump sum payment of $
       G                                 702.31             due immediately, balance due

            G not later than                                     , or
            ✔ in accordance with G C,
            G                                     G D,     G     E, or    G F below; or
  B    G Payment to begin immediately (may be combined with              G C,       G D, or G F below); or
  C    G Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                          (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

  D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                         (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

  E    G Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

  F    ✔ Special instructions regarding the payment of criminal monetary penalties:
       G
             It is recommended that any unpaid balance shall be paid paid at a rate of not less than $25.00 per quarter during
             incarceration, and then 10% of any gross income earned, subject to adjustment by the Court based upon ability to
             pay.



  Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
  during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
  Inmate Financial Responsibility Program, are made to the clerk of the court.

  The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




  G Joint and Several
       Case Number
       Defendant and Co-Defendant Names                                              Joint and Several                Corresponding Payee,
       (including defendant number)                    Total Amount                       Amount                          if appropriate.




  G The defendant shall pay the cost of prosecution.
  G The defendant shall pay the following court cost(s):
* G The defendant shall forfeit the defendant’s interest in the following property to the United States:
        *See Final Order of Forfeiture. (attached.)


  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
  fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
  and court costs.
Case 2:18-cr-00036-RFB-PAL Document 67 Filed 09/25/20 Page 9 of 14
          Case 2:18-cr-00036-RFB-PAL Document 67 Filed 09/25/20 Page 10 of 14




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6                  UNITED STATES DISTRICT COURT
7                       DISTRICT OF NEVADA

8     UNITED STATES OF AMERICA,
                                                   Case No. 2:18-cr-00036-RFB-PAL
9                  Plaintiff,

10          vs.                                    Final Order of Forfeiture

11    LINDSEY FAY SARAC,

12                 Defendant.

13

14         The United States District Court for the District of Nevada entered a

15   Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title

16   18, United States Code, Section 981(a)(1)(C) with Title 28, United States Code,

17   Section 2461(c); Title 18, United States Code, Section 982(a)(2)(B); Title 18, United

18   States Code, Section 1028(b)(5), (g), and (h); Title 18, United States Code, Section

19   1029(c)(1)(C) and (c)(2); and Title 21, United States Code, Section 853(p) based upon

20   the plea of guilty by defendant Lindsey Fay Sarac to the criminal offenses, forfeiting

21   the property set forth in the Plea Agreement and the Forfeiture Allegation of the

22   Criminal Indictment and shown by the United States to have the requisite nexus to

23   the offenses to which defendant Lindsey Fay Sarac pled guilty. Criminal Indictment,

                                               1
          Case 2:18-cr-00036-RFB-PAL Document 67 Filed 09/25/20 Page 11 of 14




1    ECF No. 14; Change of Plea, ECF No. 24; Plea Agreement, ECF No. 25; Preliminary

2    Order of Forfeiture, ECF No. 26.

3          This Court finds that the United States of America may amend this order at

4    any time to add subsequently located property or substitute property to the forfeiture

5    order pursuant to Fed. R. Crim. P. 32.2(b)(2)(C) and 32.2(e).

6          This Court finds the United States of America published the notice of

7    forfeiture in accordance with the law via the official government internet forfeiture

8    site, www.forfeiture.gov, consecutively from May 25, 2018, through June 23, 2018,

9    notifying all potential third parties of their right to petition the Court. Notice of

10   Filing Proof of Publication, ECF No. 34.

11         This Court finds no petition was filed herein by or on behalf of any person or

12   entity and the time for filing such petitions and claims has expired.

13         This Court finds no petitions are pending with regard to the property named

14   herein and the time for presenting such petitions has expired.

15         THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED

16   that all possessory rights, ownership rights, and all rights, titles, and interests in

17   the property hereinafter described are condemned, forfeited, and vested in the

18   United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R.

19   Crim. P. 32.2(c)(2); Title 18, United States Code, Section 981(a)(1)(C) with Title 28,

20   United States Code, Section 2461(c); Title 18, United States Code, Section

21   982(a)(2)(B); Title 18, United States Code, Section 1028(b)(5), (g), and (h); Title 18,

22   United States Code, Section 1029(c)(1)(C) and (c)(2); and Title 21, United States

23   Code, Section 853(n)(7) and 853(p) and shall be disposed of according to law:

                                                2
          Case 2:18-cr-00036-RFB-PAL Document 67 Filed 09/25/20 Page 12 of 14




1    i.       any and all fraudulent identification documents including, but not limited

2             to at least:

3             a)     any and all social security cards including, but not limited to at least

4                    the following cards (identified by initials of the card holder and last

5                    four digits of the social security number):

6    A.M. / 9592          D.C. / 7862       E.B. / 1882       F.S. / 6021    I.E. / 7982
     J.J. / 3837          J.M. / 8407       L.J. / 7562       L.M. / 9702    N.K. / 1232
7    R.P. / 6703          S.B. / 2298       T.M. / 9775       X.B. / 7924

8             b)     any and all driver’s licenses or identification cards including, but not

9                    limited to at least:

10                   1.      Nevada driver’s licenses and identification cards in the names

11                           of A.T., C.B., C.J., C.O., C.V., D.F., D.M., E.K., E.V., G.P.,

12                           G.W., I.C., J.B., K.H., K.K., L.M., L.S., M.D., M.P., M.S.,

13                           N.M., R.D., R.P., R.S., S.M., and T.W.;

14                   2.      California driver’s licenses and identification cards in the

15                           names of C.B., M.P., O.C., S.S.;

16                   3.      Nevada Medicaid cards in the name of A.M., B.J., D.C., J.D.,

17                           J.J., K.J., L.J., R.P., R.V., and S.B.;

18                   4.      Hong Kong identification card in the name of N.N.; and

19                   5.      United States passports in the names of J.F. and L.D.

20   ii.      any and all fraudulent access devices including, but not limited to at least:

21            a)     any and all counterfeit or unauthorized credit or debit cards

22                   including, but not limited to at least the following cards (identified

23

                                                 3
          Case 2:18-cr-00036-RFB-PAL Document 67 Filed 09/25/20 Page 13 of 14




1                      by the initials of the card holder and the last four digits of the card

2                      number):

3      A.M. / 0363        A.M. / 8674       A.P. / 0256      B.K. / 3702       B.L. / 1602
       B.L. / 9477        B.M. / 3069       B.M. / 6451      B.T / 7924        B.T. / 5006
4      C.B. / 1151        C.B. / 1729       C.B. / 2580      C.B. / 6422       C.B. / 6961
       C.B. / 9590        C.B. / 9863       C.J. / 9193      C.M. / 2878       C.M. / 4800
5      C.O. / 4898        C.P. / 0594       D.M. / 4051      D.M. / 4555       D.M. / 5678
       D.M. / 5876        D.M. / 8840       D.M. 6949        D.P. / 0637       D.P. / 7995
6      D.P. / 9170        D.R. / 3813       E.D. / 9338      E.S. / 7694       F.S. / 7405
       F.T. / 2395        G.C. / 4102       G.C. / 7575      G.M. / 1312       G.P. / 0594
7       I.C. / 0303       I.S. / 4652       I.V. / 1395      J.B. / 0231       J.B. / 0792
       J.B. / 1015        J.B. / 3332       J.B. / 4384      J.B. / 7479       J.L. / 6458
8      J.O. / 7783        K.B. / 0710       K.R. / 5338      K.V. / 0319       K.V. / 1728
       L. M. / 8901       L.B. / 6458       L.J. / 7194      L.K. / 8367       L.M. / 0692
9
       L.M. / 0721        L.M. / 1448       L.M. / 3024      L.M. / 3691       L.M. / 5710
       L.M. / 6642        L.M. / 7836       L.S. / 1089      L.S. / 2276       L.S. / 7179
10
       L.S. / 7425        L.S. / 8238       L.S. / 8818      L.S. / 9390       L.S. / 9665
       M.A. / 8573        M.B. / 1720       M.M. / 8890      M.M. / 9849       M.N. / 3183
11
       M.S. / 7787        N.A. / 3810       N.N. / 1003      P.D. / 5729       P.P. / 2286
12     R.A. / 6253        R.P. / 8506       R.P. / 9809      R.Q. / 6064       R.T. / 6734
       S.A. / 4570        S.A. / 5749       S.H. / 4255      S.M. / 0626       S.V. / 5238
13     S.W. / 4646        T.D. / 1111       T.D. / 5959      T.F. / 5461       T.H. / 2038
       T.H. / 2038        T.H. / 8050       V.D. / 9500      V.E. / 6084       V.R. / 0085
14     W.L. / 7736

15               b)    any and all notebooks, checks, account statements, and other papers

16                     containing credit or debit card numbers;

17               c)    any and all notebooks, checks, account statements, and other papers

18                     containing bank account numbers; and

19      iii.     any and all stolen mail

20   (all of which constitutes property).

21             IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all

22   forfeited funds, including but not limited to, currency, currency equivalents,

23   certificates of deposit, as well as any income derived as a result of the United States

                                                 4
          Case 2:18-cr-00036-RFB-PAL Document 67 Filed 09/25/20 Page 14 of 14




1    of America’s management of any property forfeited herein, and the proceeds from

2    the sale of any forfeited property shall be disposed of according to law.

3          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk

4    send copies of this Order to all counsel of record.

5          DATED this20th
                      ___ day of ________________,
                                   August          2018.

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8                                      HONORABLE RICHARD F. BOULWARE, II
                                         UNITED STATES DISTRICT JUDGE
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